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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                           Magistrate Judge S. Kato Crews

Civil Action No. 1:22-cv-00809-STV-SKC

MARTIN MOCTEZUMA,

        Plaintiff,

v.

ROYAL CREST DAIRY, LLC,

        Defendant.


                 ORDER SETTING SETTLEMENT CONFERENCE




     1. A Settlement Conference is set in this matter for Thursday, August 4, 2022,
        at 9:00A.M. in the Byron G. Rogers Courthouse, 1929 Stout Street, Denver,
        Colorado 80294. Instructions regarding which Courtroom the parties should go
        to will be forthcoming.

     2. Unless otherwise ordered, counsel shall have all parties present at settlement
        conferences, including all individually named parties or a representative of
        each named entity. Counsel shall also have in attendance all individuals with
        full authority to negotiate all terms and demands presented by the case, and
        full authority to enter into a settlement agreement, including, but not limited
        to, an adjustor, if an insurance company is involved. “Full authority” means
        that the person who attends the settlement conference has the complete and
        unfettered capacity and authority to meet or pay all terms or amounts which
        are demanded or sought by the other side of the case without consulting with
        some other person, committee, or agency.

     3. In exceptional circumstances, the appearance of a party, or an insurance or
        party representative by telephone may be approved in advance of the

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      settlement conference. Any party seeking such relief should file the
      appropriate motion with the Court after conferring with opposing counsel.

   4. No person is ever required to settle a case on any particular terms or amounts.
      However, both parties must participate in the settlement conference in good
      faith, pursuant to Fed. R. Civ. P. 16(f). If any party or party representative
      attends the settlement conference without full authority, fails to attend the
      proceeding without prior Court approval, or fails to participate in the
      proceeding in good faith, and the case fails to settle, that party may be ordered
      to pay the attorney’s fees and costs for the other side.

   5. Counsel shall prepare and submit two position statements: one to be
      submitted to the other party or parties, and the other to be submitted by email
      only to the Magistrate Judge, no later than Monday, July 25, 2022.
      Statements and exhibits are limited to 35 pages. A request for additional
      pages should be emailed to Chambers (with a copy to the opposing party) no
      later than two (2) days prior to the position statement deadline. The email
      should specify the number of additional pages requested and explain why
      additional pages are necessary.

         a. The statement(s) presented to opposing counsel shall contain an
            overview of the case from the presenter’s point of view, shall summarize
            the evidence which supports that side’s claims, and may present a
            demand or offer. These statements should be intended to persuade the
            opposing clients and counsel.

         b. The second statement shall be emailed to Chambers (not submitted for
            filing to the court) at Crews_Chambers@cod.uscourts.gov. This
            statement shall contain the content or copies of the first statement
            along, any confidential comments the party or counsel wishes to make.
            The statement shall directly address the concerns, needs, and fears
            which may affect the party's settlement position or ability to settle.

   6. Counsel shall participate in individual phone calls with Magistrate Judge
      Crews prior to the Settlement Conference. These phone calls are off-the-record
      and are an opportunity for Judge Crews to raise questions stemming from his


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      review of the position statements. Counsel shall contact Judge Crews’
      chambers (303.335.2124) at the scheduled time.

         a. Plaintiff’s Counsel: Tuesday, August 2, 2022, at 1:00 P.M.

         b. Defense Counsel: Monday, August 1, 2022, at 1:00 P.M.

   7. The Parties acknowledge that by electing to have Judge Crews conduct a
      settlement conference, he may become privy to information from the Parties
      that he might not otherwise receive as the referral Magistrate Judge in this
      case. By proceeding with a settlement conference before Judge Crews, the
      Parties agree that his participation in the settlement conference shall not be
      cause to reasonably question his impartiality going forward in the event this
      matter does not settle at the settlement conference. Counsel is ORDERED
      to discuss this dynamic with their client(s), and FURTHER ORDERED
      to certify in their confidential settlement statements that their
      client(s) has been advised of this dynamic and acknowledges that
      Judge Crews’ participation in the settlement conference shall not be
      cause to reasonably question his impartiality going forward if the
      matter does not settle.


DATED: May 25, 2022
                                             BY THE COURT:




                                             S. Kato Crews
                                             United States Magistrate Judge




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